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   In the matter of United States v Kwok, et al 23 CR 118 (SDNY) with respect to 41(g) Customer Action for the return of their Himalaya
                                                                                                                      Exchange Funds
                                                                                        Independent forensic review of Mazars LLP

Appendix 1.2
Documents used in the preparation of this report


  Document title                                                                Exhibit

  Example excerpts from the HEX Customer Database                               Exhibit 3.1
  Onboarding Process Document                                                   Exhibit 4.1
  Excerpts of the “Risk Scoring” tab on the HID Database                        Exhibit 6.1
  Extract of bank statements of the Exchange                                    Exhibit 6.2
  Mercantile Bank Custody Agreement                                             Exhibit 6.3
  FV Bank Custody Agreement                                                     Exhibit 6.4
  FV Bank Business Account Application                                          Exhibit 6.5




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